      Case 1:20-cv-00079-DMT-CRH Document 27 Filed 06/08/21 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

Sandra Short, et al.,                           )
                                                )
                Plaintiffs,                     )       ORDER
                                                )
        vs.                                     )
                                                )
Billings County, et al.,                        )       Case No. 1:20-cv-079
                                                )
                Defendants.                     )


        On June 7, 2021, the undersigned convened a hearing on defendants’ pending motions to

dismiss and for sanctions. During the course of the hearing there was some discussion of plaintiffs’

pending state case, Sandra Short, et al. vs. Billings County Board of Commissioners, Case No. 04-

2020-CV-0015.

        For the reasons discussed at the hearing, plaintiffs are directed to file with this court by June

14, 2021, copies of the pleadings along with the parties’ briefs filed in plaintiffs’ pending state case.

Plaintiffs should file these materials as supplements to their response in opposition to defendants’

motion to dismiss.

        IT IS SO ORDERED.

        Dated this 8th day of June, 2021.

                                                /s/ Charles S. Miller, Jr.
                                                Charles S. Miller, Jr., Magistrate Judge
                                                United States District Court
